                                                                                                     Patrick Beath
          Department of Law                                                                          Municipal Attorney
          City Hall Room 400A, 30 Church Street
          Rochester, New York 14614-1295
          www.cityofrochester.gov

                                                                      February 16, 2018


          BY ECF
          Hon. Frank P. Geraci, Jr.
          Chief United States District Judge
          100 State Street
          Rochester, New York 14614
          Fax: (585) 613-4095

                        Re: Septimus Scott v. City of Rochester, et al., 17 CV 6359

         Your Honor:

               As you know, I represent defendants in the above-referenced matter, who have moved to
         dismiss certain claims of the Amended Complaint (“AC”). I write to bring to your attention
         the February 14, 2018 decision of Judge Larimer in the matter of Dwayne Ivery v. Alexander C.
         Baldauf, et al., 14-cv-6041L, 2018 U.S. Dist. LEXIS 24372 (W.D.N.Y. Feb. 14, 2018) which
         further demonstrates that the Monell claims in the instant matter are not plausibly pleaded.

                Here, plaintiff alleges, at paragraphs 215 to 223 of the AC, that the allegations made
         against Officers Baldauf and Harris in the Ivery matter support a purported pattern of
         misconduct to which the City has been deliberately indifferent, thereby giving rise to Monell
         liability. Yet in sharp contrast to the allegations in the AC, Judge Larimer’s Ivery decision
         dismisses all claims against Officer Harris.1 Further, Judge Larimer found no evidence, after
         full discovery, of the City’s deliberate indifference to any pattern or practice of police
         misconduct and, therefore, dismissed the Monell claims. In reaching this decision, Judge
         Larimer reasoned:

                          In support of his [Monell] claims, plaintiff asserts that the RPD
                          has failed to investigate past cases of excessive force. In support
                          of that allegation, plaintiff has cited several actions brought in
                          this Court. The records in none of those cases support plaintiff’s
                          claims here.
                          In Turner v. City of Rochester, 11-CV-6200, the parties settled
                          the action before trial. There was no admission of liability or
                          wrongdoing by either side. The same is true of Libbett v. City of
                          Rochester, 12-CV-6697. In Jones v. City of Rochester, 12-CV-
                          6082, a jury returned a verdict in favor of the four individual
                          RPD officer defendants. The other cases cited by plaintiff are

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 Because of fact disputes, the false arrest and excessive force claims against Officer Baldauf in the Ivery
matter will proceed to trial.
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                        similar, and do not indicate that defendants turned a blind eye to
                        past alleged uses of excessive force by RPD officers.
                        In short, plaintiff has cited a handful of past cases in which
                        similar allegations were made, but never proved. As recently
                        stated by another district court from this circuit, “a plaintiff's
                        citation to a few lawsuits involving claims of alleged
                        [constitutional violations] is not probative of the existence of an
                        underlying policy by a municipality.” Harris v. City of
                        Newburgh, No. 16-CV-2731, 2017 WL 4334141, at *5
                        (S.D.N.Y. Sept. 27, 2017) (citing cases).
               Here, plaintiff proceeds on the same deliberate indifference theory of liability, which fails
         for the reasons set forth in defendants’ pending motion, and as articulated by Judge Larimer in
         the Ivery decision.2

                                                                     Sincerely,

                                                                        /s/

                                                                     Patrick Beath
                                                                     Municipal Attorney

         Enc.

         C:     Elliot Dolby-Shields, Esq. (By ECF)




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  That Ivery was a summary judgment decision does not change this analysis—rather, it strengthens it.
In Ivery, the plaintiff had every opportunity to muster facts and evidence to demonstrate a purported
pattern of misconduct beyond mere allegations. The plaintiff failed to do that. This only underscores
that a Monell claim should not be allowed to proceed upon mere unsubstantiated allegations of
misconduct.
